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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                    TEL. 504-310-7700
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                                                             NEW ORLEANS, LA 70130

                             August 26, 2024
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 23-30445      State of Missouri v. Biden
                        USDC No. 3:22-CV-1213

The court has taken the following action:
The Court has re-issued the opinion for publication in the above
case.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk



                                  By: _________________________
                                  Whitney M. Jett, Deputy Clerk
                                  504-310-7772
Mr. Travis Christopher Barham
Mr. John B. Bellinger III
Mr. Simon Christopher Brewer
Mr. Brennan Tyler Brooks
Mr. Jonathon Christian Burns
Mr. Jay R. Carson
Mr. David Anthony Dalia
Mr. Joshua M. Divine
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Mr. Gene Patrick Hamilton
Mr. R. Stanton Jones
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Mr. Christopher Ernest Mills
Ms. Elizabeth Baker Murrill
Mr. William Jeffrey Olson
Mr. Dean John Sauer
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Mr. Jay A. Sekulow
Mr. Eric Arthur Sell
Mr. Tracy Short
Mr. Daniel Bentele Hahs Tenny
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Ms. Elisabeth S. Theodore
Mr. Peter Martin Torstensen Jr.
Ms. Judith Vale
Mr. John Julian Vecchione
Mr. Henry Charles Whitaker
Mr. Daniel Winik
Mr. Scott L. Winkelman
Mr. Stephen K. Wirth
Ms. Jenin Younes
Ms. Grace Zhou
